       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Grace Nadine McGuire
       v. Commonwealth of Virginia
       Record No. 0395-17-4
       Opinion rendered by Judge Chafin on
        May 22, 2018

    2. Russell Ervin Brown, III
       v. Commonwealth of Virginia
       Record No. 0434-17-2
       Opinion rendered by Chief Judge Huff on
        May 22, 2018

    3. Dwight Delano Moore
       v. Commonwealth of Virginia
       Record No. 0224-17-1
       Opinion rendered by Judge Beales on
        June 5, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Charles Stanard Severance
   v. Commonwealth of Virginia
   Record No. 0308-16-4
   Opinion rendered by Judge O’Brien
     on May 23, 2017
   Judgment of Court of Appeals affirmed by opinion rendered
    on July 19, 2018 (170829)

2. Edy Canales
   v. Marvin Alejandro Torres Orellana
   Record No. 1073-16-4
   En Banc Opinion rendered by Judge Humphreys
    on June 20, 2017
   Refused (170936)

3. Thormac, LLC, d/b/a McCormack’s Whisky
    Grill and Smokehouse
   v. Department of Alcoholic Beverage Control and
       Virginia Alcoholic Beverage Control Board
   Record No. 0100-17-2
   Opinion rendered by Judge Beales
    on November 28, 2017
   Dismissed pursuant to Code § 17.1-410(A)(2) and (B)
   (180127)

4. Andrew Vojuan Burrous
   v. Commonwealth of Virginia
   Record No. 0022-17-2
   Opinion rendered by Judge Beales
    on December 12, 2017
   Refused (180077)

5. Matthew John Stickle
   v. Commonwealth of Virginia
   Record No. 0660-16-1
   Opinion rendered by Judge Humphreys
    on December 27, 2017
   Refused (180151)

6. Daquan Lamar Scott
   v. Commonwealth of Virginia
   Record No. 1900-16-1
   Opinion rendered by Judge Humphreys
    on January 30, 2018
   Refused (180260)
7. Donald Dravell Robinson
   v. Commonwealth of Virginia
   Record No. 1923-16-4
   Opinion rendered by Chief Judge Huff
    on April 3, 2018
   Refused (180567)
       On July 26, 2018 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Tyson Kenneth Curley
       v. Commonwealth of Virginia
       Record No. 0632-16-3
       CAV petition for appeal denied by Judge AtLee on September 7, 2016
         and by Judges Decker, Malveaux and Senior Judge Annunziata on October 17, 2016
       Judgment of Court of Appeals affirmed
       (170732)
